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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 Marcia Melendez, Jarican Realty Inc.,
 1025 Pacific LLC, Ling Yang, Top East
 Realty LLC, and Haight Trade LLC, Elias Bochner,                         DECLARATION OF PAMELA
 and 287 7th Avenue Realty LLC                                            A. KOPLIK IN SUPPORT OF
                                                                          DEFENDANTS’ CROSS-
                                      Plaintiffs,                         MOTION FOR SUMMARY
                                                                          JUDGMENT AND IN
                       v.                                                 OPPOSITION TO
                                                                          PLAINTIFFS’ MOTION FOR
                                                                          SUMMARY DECLARATORY
 The City of New York, a municipal entity,                                RELIEF
 Bill de Blasio, as Mayor of the City of New York,
 Louise Carroll, Commissioner of New York City                            20 CV 05301 (RA)
 Department of Housing Preservation &
 Development, and Jonnel Doris, Commissioner of
 New York City Department of Small Business
 Services,

                                    Defendants.


                  PAMELA A. KOPLIK declares, pursuant to 28 U.S.C. § 1746 and under penalty

of perjury, that the following is true and correct:

                  1.        I am an Assistant Corporation Counsel in the office of Hon. Sylvia O.

Hinds-Radix, Corporation Counsel of the City of New York, attorney for Defendants in the

instant action.

                  2.        I respectfully submit this declaration in opposition to Plaintiffs’ motion for

summary declaratory relief and in support of Defendants’ cross-motion for an order and

judgment dismissing the Amended Complaint pursuant to Rules 56 and 57 of the Federal Rules

of Civil Procedure.

                  3.        This declaration is intended principally to put before the Court various

pieces of publicly-available information which bear on Plaintiffs’ and Defendants’ motions. This




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declaration is also submitted to state certain facts relating to Plaintiffs’ response to Defendants’

requests for disclosure.

The Guaranty Law and Its Legislative History

       (i) Local Law 55 of 2020

               4.      On April 22, 2020, during its stated meeting, the New York City Council

(“City Council”) introduced Local Law No. 55 of 2020 (the “Guaranty Law”).1 A true and

accurate copy of Intro No. 1932 is attached as Exhibit A. A true and correct copy of the

transcript of the April 22, 2020 stated meeting is attached as Exhibit B.

               5.      Attached as Exhibit C is a true and correct copy of the “Briefing Paper and

Committee Report of the Governmental Affairs Division” dated April 29, 2020, (entitled

“OVERSIGHT: The Impact of COVID-19 on Small Businesses in New York City”)

               6.      Attached as Exhibit D is a true and correct copy of the transcript of the

April 29, 2020 hearing held by the City Council’s Committees on Small Business and on

Consumer Affairs and Business Licensing. During this hearing, oral testimony was submitted by

representatives from the New York City Department of Small Business Services (“SBS”), Real

Estate Board of New York (“REBNY”), small business advocates, chambers of commerce and

non-profit organizations.

               7.      Attached as Exhibits E1, E2, E3, E4, and E5, is a true and correct copy of

the written testimony, which consists of a total of 949 pages, received by the City Council’s

Committees on Small Business and on Consumer Affairs and Business Licensing in connection

with their April 29, 2020 hearing. The written testimony includes testimony from SBS, REBNY,


1
 The legislative history for Local Law 55 of 2020, including the legislative record documentation
attached to this declaration, is available in the City Council’s website at
https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4424954&GUID=C2A4AC16-7409-465E-
B5A4-A84F6E7989FB&Options=ID|Text|&Search.


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United for Small Businesses NYC, Volunteers of Legal Service (VOLS), CHIP, and The Legal

Aid Society.

               8.      On May 13, 2020, the City Council amended Intro. No. 1932 as Intro. No.

1932-A, a true and correct copy of which is attached as Exhibit F.

               9.      Attached as Exhibit G is a true and correct copy of Intro. No. 1932-A’s

“Plain Language Summary” document that is prepared by the City Council.

               10.     Attached as Exhibit H is a true and correct copy of the “Committee Report

of the Governmental Affairs Divisions” dated May 13, 2020.

               11.     Attached as Exhibit I is a true and correct copy of the transcript of the

May 13, 2020 hearing held by the City Council’s Committee on Small Business. During the

hearing, the Committee on Small Business approved Intro No. 1932-A by a vote of 5 to 0, with

zero in the negative and no abstentions.

               12.     Attached as Exhibit J is a true and correct copy of transcript of the City

Council’s May 13, 2020 stated meeting, where Intro. No. 1932-A was passed by a vote of 44-6.

               13.     Attached as Exhibit K is a true and correct copy of a letter from the City’s

Office of the Mayor dated May 26, 2020, indicating that the Mayor signed Intro. No. 1932-A.

               14.     Attached as Exhibit L is a true and correct copy of the Guaranty Law

(Local Law 55 of 2020), which took effect on May 26, 2020.

       (ii) Local Law 98 of 20202

               15.     On September 14, 2020, the City Council’s Committee on Small Business

held a hearing to discuss Intro No. 2083, a true and correct copy of which is attached as Exhibit

2
 The legislative history for Local Law 98 of 2020, including the legislative record documentation
attached to this declaration, is available in the City Council’s website at
https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4635291&GUID=CD374E63-1E3D-4C99-
B482-136A8A4DF109&Options=ID%7cText%7c&Search=



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M. Attached as Exhibit N is a true and correct copy of the “Plain Language Summary” document

that is prepared by the City Council for Intro No. 2083. A true and correct copy of the transcript

of the September 14, 2020 hearing is attached as Exhibit O.

               16.     Attached as Exhibit P is a true and correct copy of the written testimony

received by the City Council’s Committee on Small Business in connection with the September

14, 2020 hearing. The written testimony includes testimony from Public Advocate Jumaame

Williams, SBS, REBNY, NYC Hospitality Alliance, Relief Opportunities for All Restaurants

(ROAR), Margules Properties, Inc., Asian American Federation, League of Independent Theater,

Council of New York Cooperatives & Condominiums, Mile High Run Club, Association for

Neighborhood & Housing Development and several individuals.

               17.     Attached as Exhibit Q is a true and correct copy of the September 14,

2020 Committee Report of the Governmental Affairs Division.

               18.     Attached hereto as Exhibit R is a true and correct copy of the transcript of

the September 16, 2020 stated meeting during which Local Law 98 of 2020 was preconsidered

and referred to the Committee on Small Business.

               19.     On or about September 22, 2020, Intro 2083 was amended as Intro No.

2083-A. Attached as Exhibit S is a true and correct copy of proposed Intro No. 2083-A, which

includes a section entitled “Declaration of legislative intent and findings.”

               20.     Attached as Exhibit T is a true and correct copy of Intro. No. 2083-A’s

“Plain Language Summary” document that is prepared by the City Council.

               21.     A true and correct copy of the transcript from the September 23, 2020

hearing of the City Council’s Committee on Small Business to discuss Intro No. 2083-A is




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attached hereto as Exhibit U. During the hearing, the Committee on Small Business approved

Intro No. 2083-A by a vote of 4 to 0, with zero in the negative and no abstentions.

               22.     Attached as Exhibit V is a true and correct copy of the September 23,

2020 Committee Report of the Governmental Affairs Division.

               23.     Attached as Exhibit W is a true and correct copy of Final Intro No. 2083-

A.

               24.     Attached as Exhibit X is a true and correct copy of the transcript of the

September 23, 2020 stated meeting where Intro No. 2083-A was passed by a vote of 45-5.

               25.     Attached as Exhibit Y is a true and correct copy of a letter from the City’s

Office of the Mayor dated September 28, 2020, indicating that the Mayor signed Intro. No. 2083-

A.

               26.     Attached as Exhibit Z is a true and correct copy of Local 98 of 2020,

which took effect on September 28, 2020.

       (iii) Local Law 50 of 20213

               27.     On March 17, 2021, the City Council’s Committee on Small Business held

a hearing to discuss Intro No. 2243, a true and correct copy of which is attached as Exhibit AA.

Intro No. 2243 includes a section entitled “Declaration of legislative intent and findings.”

Attached as Exhibit BB is a true and correct copy of the “Plain Language Summary” document

for Intro No. 2243 that is prepared by the City Council. A true and correct copy of the transcript

of the March 17, 2021 hearing is attached as Exhibit CC.



3
 The legislative history for Local Law 50 of 2021, including the legislative record documentation
attached to this declaration, is available in the City Council’s website at
https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4835164&GUID=3320048A-1984-4A1D-
9EB5-71A095F81F17&Options=ID%7CText%7C&Search=



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                    28.     Attached as Exhibit DD is a true and correct copy of the written testimony

received by the City Council’s Committee on Small Business in connection with the March 17,

2021 hearing. The written testimony includes testimony from, SBS, REBNY, New York State

Restaurant Association, Association for Neighborhood & Housing Development, VOLS, and

several other entities and individuals.

                    29.     Attached as Exhibit EE is a true and correct copy of the March 17, 2021

Committee Report of the Governmental Affairs Division. 4

                    30.     Attached hereto as Exhibit FF is a true and correct copy of the transcript of

the March 18, 2021 stated meeting at which Intro No. 2243 was preconsidered and referred to the

Committee on Small Business.

                    31.     On or about March 24, 2021, Intro 2243 was amended as Intro No. 2243-

A. Attached as Exhibit GG is a true and correct copy of proposed Intro No. 2243-A.

                    32.     Attached as Exhibit HH is a true and correct copy of Intro. No. 2243-A’s

“Plain Language Summary” document that is prepared by the City Council.

                    33.     A true and correct copy of the transcript from the March 25, 2021 hearing

of the City Council’s Committee on Small Business to discuss Intro No. 2243-A is attached

hereto as Exhibit II. During the hearing, the Committee on Small Business approved Intro No.

2243-A by a vote of 5 to 0, with zero in the negative and no abstentions.

                    34.     Attached as Exhibit JJ is a true and correct copy of the March 25, 2021

Committee Report of the Governmental Affairs Division. 5

                    35.     Attached as Exhibit KK is a true and correct copy of Final Intro No. 2243-

A.


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    The report is incorrectly dated March 17, 2020 and should be dated March 17, 2021.
5
    The report is incorrectly dated March 25, 2020 and should be dated March 25, 2021.


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               36.    Attached as Exhibit LL is a true and correct copy of the transcript of the

March 25, 2021 stated meeting where Intro No. 2243-A was passed by a vote of 43-6 with no

abstentions.

               37.    Local Law 50 of 2021 passed by operation of law pursuant to New York

City Charter, Chapter 2, Section 37. Attached as Exhibit MM is a true and correct copy of Local

Law 50 of 2021, which took effect on March 31, 2021.

Deposition Testimony of Plaintiffs and Related Marked Deposition Exhibits

               38.    Attached as Exhibit NN is a true and correct copy of the transcript form

the August 16, 2022 Rule 30(b)(6) deposition of Plaintiff 287 7th Avenue Realty, LLC (“Plaintiff

7th Avenue”) by Shlome Reifer, Managing Agent.

               39.    Attached as Exhibit OO1-OO2 is marked deposition Exhibit C, a June 9,

2006 Lease between 177 West 76th Street Associates and Sunburger 1 LLC, hereinafter “Lease.”

               40.    Attached as Exhibit PP is marked deposition Exhibit D, August 8, 2012

and July 8, 2015 letters exercising options to renew pursuant to the Lease.

               41.    Attached as Exhibit QQ is marked deposition Exhibit J, a March 20, 2020

letter from Steven Leicht, Chief Executive Officer of Sunburger 1, LLC, to various entities

including Guardian Realty Management and Plaintiff Bochner, and serving as the Six Month

Notice of Tenant’s Intention to Vacate and Surrender the Premises.

               42.    Attached as Exhibit RR is marked deposition Exhibit K, a June 30, 2020

letter from Mr. Leicht to Guardian Realty Management surrendering “the premises (and all

fixtures, furniture and equipment therein) effective June 30, 2020.”

               43.    Attached as Exhibit SS is marked deposition Exhibit L, a transaction

report for the subject premises from 12/30/2007 through 01/01/2021.




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               44.    Attached as Exhibit TT is marked deposition Exhibit P, a February 21,

2021 letter from the U.S. Small Business Administration Disaster Assistance Processing and

Disbursement Center regarding a disaster assistance loan received by Plaintiff 7th Avenue.

               45.    Attached as Exhibit UU is marked deposition Exhibit Q, a document

entitled “Unanimous Consent In Lieu of Meeting” concerning an SBA Loan in the amount of

$150,000 received by Plaintiff 7th Avenue.

               46.    Attached as Exhibit VV is a true and correct copy of the transcript from

the August 17, 2022 deposition of Elias Bochner.

               47.    At the August 16, 2022 Rule 30(b)(6) deposition of Plaintiff 287 7th

Avenue Realty LLC by Shlome Reifer, I requested that spaces be left in the record for Plaintiffs

to provide the following documents and information regarding a Small Business Association

Disaster Loan (“SBA disaster loan”) obtained by Plaintiff 287 7th Avenue Realty LLC: i) the

application documents; ii) an itemization of what the SBA disaster loan was used for; and iii) the

amount still due and owning on the SBA disaster loan. See Exhibit NN at 50:6-9, 53:4-54:12. To

date, Plaintiffs have failed to provide this requested documentation and information.

               WHEREFORE, for the reasons stated in Defendants’ papers, Defendants

respectfully request that this Court deny Plaintiffs’ motion for summary declaratory relief and

grant Defendants’ cross-motion to for summary judgment dismissing the Amended Complaint .

Dated:         New York, New York
               September 23, 2022



                                                                /s/
                                                           PAMELA A. KOPLIK




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